. "Case 3:51 4hv-01247-JO-SBC Document 1483 Filed 04/01/52 PagelD.3413 Page 1
fe ‘“ IN THE UNITED STATES DISTRIC’” SOURT
Southern District of Californua’
Southern Division
1 ' Ghristine Rivers and Frank Rivers
. Name
2 .
- ‘Address
3 Fallbrook, California
City and State
4 .
5 Telephone Number
Defendant
6 .
7
8 UNITED STATES OF AMERICA )"
)
9 Plaintiff, }
10 va. } No. 1247
11 FALLBROOK PUBLIC UTILITY )
DISTRICT, et al., )
12 )
. Defendants, )
13];
14 Comes now the defendant (s)_CHRIST RIVERS sued herein as
15 DOB EIGHT HUNDRED FIFTY FOUR and FRANK RIVERS, sued herein as
16 tetas or Fe er bibte ETY®. nswering plaintiffs complaint on
17 file, herein denies (deny) each and every material allegation contained therein.
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